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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
FTD Companies, Inc., et al.,1                          :       Case No. 19-11240 (LSS)
                                                       :
                    Debtors.                           :       (Jointly Administered)
                                                       :
                NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON JULY 31, 2019 AT 11:00 A.M. (EDT)3

 I.       CONTESTED MATTER GOING FORWARD:

          1.         Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding Procedures
                     for the Sale of Substantially All of the Debtors’ Assets, (B) Authorizing the
                     Debtors to Enter Into One or More Stalking Horse Agreements and to Provide
                     Bidding Protections Thereunder, (C) Scheduling an Auction and Approving the
                     Form and Manner of Notice Thereof, (D) Approving Assumption and Assignment
                     Procedures, (E) Scheduling a Sale Hearing and Approving the Form and Manner
                     of Notice Thereof and (F) Granting Related Relief; (II)(A) Approving the Sale of
                     the Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances,
                     (B) Approving the Assumption and Assignment of Executory Contracts and
                     Unexpired Leases and (C) Granting Related Relief [Docket No. 82 - filed June 6,
                     2019]

                     Objection/Response Deadline:              July 16, 2019 at 4:00 p.m. (ET); extended to
                                                               July 17, 2019 for Hearst Communications,
                                                               Inc.; extended to July 19, 2019 for counsel
                                                               to Bank of America, N.A., as administrative
                                                               agent under both the Debtors’ prepetition

 1        The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
          numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists’
          Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
          (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD
          Mobile, Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and
          Provide Creations, Inc. (8964). The Debtors’ noticing address in these chapter 11 cases is 3113 Woodcreek
          Drive, Downers Grove, IL 60515.
 2
          Amended items appear in bold.
 3
          The hearing will be held before The Honorable Laurie Selber Silverstein at the United States Bankruptcy
          Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 2, Wilmington,
          Delaware 19801. Any person who wishes to appear telephonically at the July 31, 2019 hearing must
          contact COURTCALL, LLC at 866-582-6878 prior to the hearing to register his/her telephonic appearance
          in accordance with the Instructions for Telephonic Appearances Effective January 5, 2005, Revised May
          11, 2018.



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                                                           secured credit facility and proposed
                                                           postpetition secured credit facility (“Bank of
                                                           America, N.A.”); extended for Verizon to
                                                           July 23, 2019 at 4:00 p.m. (ET); extended
                                                           for 360i LLC to July 25, 2019 at 5:00 p.m.
                                                           (ET)

                    Objection / Responses Received:

                    A.     Oracle’s Limited Objection to and Reservation of Rights Regarding
                           Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding
                           Procedures for the Sale of Substantially All of the Debtors’ Assets, (B)
                           Authorizing the Debtors to Enter Into One or More Stalking Horse
                           Agreements and to Provide Bidding Protections Thereunder, (C)
                           Scheduling an Auction and Approving the Form and Manner of Notice
                           Thereof, (D) Approving Assumption and Assignment Procedures, (E)
                           Scheduling a Sale Hearing and Approving the Form and Manner of Notice
                           Thereof and (F) Granting Related Relief; (II)(A) Approving the Sale of the
                           Debtors’ Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances, (B) Approving the Assumption and Assignment of
                           Executory Contracts and Unexpired Leases and (C) Granting Related
                           Relief (“Sale Motion”); and (2) Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets (“Assumption
                           Notice”) [Docket No. 383 – filed July 15, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT).

                    B.     Limited Objection and Reservation of Rights Regarding Proposed Asset
                           Sales (filed by Bank of America, N.A.) [Docket No. 419 – filed July 19,
                           2019]

                    Status: Based on the new paragraph 38 of the revised, proposed Sale Order
                            being filed with this Amended Agenda, this objection has been
                            resolved solely for purposes of this hearing.

                    C.     Limited Objection of the Official Committee of Unsecured Creditors to
                           Proposed Asset Sales [Docket No. 452 – filed July 26, 2019]

                    Status: The hearing on this objection is going forward.

                    Cure Objection / Responses Received:

                    A.     Irvine Eastgate Office II, LLC Objection to Proposed Cure Amount
                           [Docket No. 381 – filed July 15, 2019]


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                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    B.     Oracle’s Limited Objection to and Reservation of Rights Regarding
                           Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding
                           Procedures for the Sale of Substantially All of the Debtors’ Assets, (B)
                           Authorizing the Debtors to Enter Into One or More Stalking Horse
                           Agreements and to Provide Bidding Protections Thereunder, (C)
                           Scheduling an Auction and Approving the Form and Manner of Notice
                           Thereof, (D) Approving Assumption and Assignment Procedures, (E)
                           Scheduling a Sale Hearing and Approving the Form and Manner of Notice
                           Thereof and (F) Granting Related Relief; (II)(A) Approving the Sale of the
                           Debtors’ Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances, (B) Approving the Assumption and Assignment of
                           Executory Contracts and Unexpired Leases and (C) Granting Related
                           Relief (“Sale Motion”); and (2) Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets (“Assumption
                           Notice”) [Docket No. 383 – filed July 15, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    C.     Cure Amount/Assignment Objection by LeSaint Logistics, LLC [Docket
                           No. 384 – filed July 15, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not related to the matter being heard at
                            the July 31, 2019 hearing.

                    D.     Limited Objection and Reservation of Rights (filed by Aetna Life
                           Insurance Company) [Docket No. 385 – filed July 15, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    E.     Objection of PAC Operating Limited Partnership to Notice of Cure Costs
                           and Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 386 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT).


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                    F.     Cure Objection by Microsoft [Docket No. 389 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    G.     Objection of PW Fund LP as Assignee of OK&B, LLC to Notice of Cure
                           Costs and Potential Assumption and Assignment of Executory Contracts
                           and Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 390 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    H.     Objection of Sun Valley Group to Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets [Docket No.
                           391 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    I.     Limited Objection and Reservation of Rights of Google LLC to Notice of
                           Cure Costs and Potential Assumption and Assignment of Executory
                           Contracts and Unexpired Leases in Connection with Sale of Substantially
                           All Assets [Docket No. 392 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    J.     Limited Objection and Reservation of Rights of United Parcel Service,
                           Inc. and Its Affiliates to Notice of Cure Costs and Potential Assumption
                           and Assignment of Executory Contracts and Unexpired Leases in
                           Connection with Sale of Substantially All Assets [Docket No. 393 – filed
                           July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    K.     Groupon’s Limited Objection and Reservation of Rights [Docket No. 395
                           – filed July 16, 2019]



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                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    L.     Batesville Casket Company, Inc.’s Limited Response to and Reservation
                           of Rights Regarding Debtors’ Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets [Docket No.
                           397 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    M.     Objection of MCPF-LRC Logistics, LLC to the Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 399 – filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    N.     Objection of Salesforce.com, Inc. to the Proposed Assumption and
                           Assignment of Certain Executory Contracts and Cure Costs in Connection
                           with the Sale of Substantially All Assets, and Reservation of Rights
                           [Docket No. 400 – filed July 16, 2019]

                    O.     Declaration of Kevin Ramirez in Support of the Objection of
                           Salesforce.com, Inc. to the Proposed Assumption and Assignment of
                           Certain Executory Contracts and Cure Costs in Connection with the Sale
                           of Substantially All Assets, and Reservation of Rights [Docket No. 401 –
                           filed July 16, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    P.     Hearst Communications, Inc.’s Objection to Proposed Cure Amounts and
                           Assumption and Assignment of Certain Executory Contract in Connection
                           with Sale of Potentially All Assets [Docket No. 402 – filed July 17, 2019]

                    Q.     (Amended) Hearst Communications, Inc.’s Objection to Proposed Cure
                           Amounts and Assumption and Assignment of Certain Executory Contract
                           in Connection with Sale of Potentially All Assets [Docket No. 403 – filed
                           July 17, 2019]


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                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    R.     Limited Objection of Jetxin Limited to Debtors’ Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 434 – filed July 23, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    S.     Limited Objection of Verizon Media Group and XO Communications
                           Services, LLC to Notice of Cure Costs and Potential Assumption and
                           Assignment of Executory Contracts and Unexpired Leases in Connection
                           With Sale of Substantially All Assets [Docket No. 436 – filed July 23,
                           2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    T.     Limited Objection and Reservation of Rights of 360i LLC to Notice of
                           Cure Costs and Potential Assumption and Assignment of Executory
                           Contracts and Unexpired Leases in connection With Sale of Substantially
                           All Assets [Docket No. 440 – filed July 24, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    U.     Objection of CenturyLink Communications, LLC and Level 3
                           Communications, LLC to Proposed Cure Amount [Docket No. 456 – filed
                           July 26, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    V.     Limited Objection of Strategic Media, Inc. to Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 461 – filed July 29, 2019]




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                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard at the
                            July 31, 2019 hearing.

                    W.     Amended Limited Objection and Reservation of Rights (filed by
                           Aetna Life Insurance Company) [Docket No. 466 – filed July 29, 2019]

                    Status: The hearing on this objection is continued to August 9, 2019 at 10:00
                            a.m. (EDT); this objection does not relate to the matter being heard
                            at the July 31, 2019 hearing.

                    X.     Informal Response of Crown Equipment Corporation

                    Status: The hearing on this informal response is going forward.

                    Y.     Informal Response of XTRA Lease LLC

                    Status: The hearing on this informal response is going forward.

                    Z.     Informal Response of Access Information Management

                    Status: The hearing on this informal response is going forward.

                    AA.    Informal Response of ITNH

                    Status: The hearing on this informal response is going forward.

                    Related Documents:

                    i.     Order (I) Approving Bidding Procedures for the Sale of Substantially All
                           of the Debtors’ Assets, (II) Authorizing the Debtors to Enter Into One or
                           More Stalking Horse Agreements and to Provide Bidding Protections
                           Thereunder, (III) Scheduling an Auction and Approving the Form and
                           Manner of Notice Thereof, (IV) Approving Assumption and Assignment
                           Procedures, (V) Scheduling a Sale Hearing and Approving the Form and
                           Manner of Notice Thereof and (VI) Granting Related Relief [Docket No.
                           201 – entered June 25, 2019]

                    ii.    Notice of Sale, Bidding Procedures, Auction, Sale Hearing and Other
                           Deadlines Related Thereto [Docket No. 215 – filed June 26, 2019]

                    iii.   Notice of Cure Costs and Potential Assumption and Assignment of
                           Executory Contracts and Unexpired Leases in Connection with Sale of
                           Substantially All Assets [Docket No. 286 – filed July 1, 2019]

                    iv.    Affidavit of Service of Publication [Docket No. 287 – filed July 1, 2019]


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                    v.      Notice of (I) Cancellation of Auction and (II) Successful Bid for Personal
                            Creations [Docket No. 421 – filed July 19, 2019]

                    vi.     Notice of Filing of Amendments to Cure Costs and Potential Assumption
                            and Assignment of Executory Contracts and Unexpired Leases in
                            Connection with Sale of Substantially All Assets [Docket No. 448 – filed
                            July 25, 2019]

                    vii.    Declaration of Teri Stratton in Support of the Sale of Personal Creations to
                            PlanetArt LLC [Docket No. 459 - filed July 29, 2019]

                    viii.   Declaration of Scott M. Tandberg in Support of the Sale of Personal
                            Creations to PlanetArt LLC [Docket No. 460 - filed July 29, 2019]

                    ix.     Notice of Filing of Proposed Sale Order for the Sale of Personal Creations
                            to PlanetArt LLC [Docket No. 462 - filed July 29, 2019]

                    x.      DIP Credit Agreement, attached as Exhibit B to Motion of the
                            Debtors, Pursuant to Sections 105, 361, 362, 363, 364, and 507 of the
                            Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2, for
                            Interim and Final Orders (I) Authorizing Debtors to (A) Obtain
                            Pospetition Financing and (B) Use Cash Collateral, (II) Granting
                            Adequate Protection to Prepetition Secured Parties, (III) Scheduling
                            Final Hearing, and (IV) Granting Related Relief [Docket No. 19 –
                            filed June 3, 2019]

                    xi.     Final Order Pursuant to Sections 105, 361, 362, 364, and 507 of the
                            Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2, (I)
                            Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use
                            Cash Collateral, (II) Granting Adequate Protection to Prepetition
                            Secured Parties, (III) Scheduling Final Hearing, and (IV) Granting
                            Related Relief [Docket No. 311 – entered July 2, 2019]

                    xii.    Notice of (I) Adjournment of Auction and Sale Hearing for (A) the
                            FTD Assets and Provide Commerce and (B) Gourmet Foods and (II)
                            Extension of Certain Deadlines Set Forth in Bidding Procedures
                            [Docket No. 420 – filed July 19, 2019] (the “Notice of Adjournment”)

                    xiii.   Declaration of Roger S. Bloxberg, CEO of PlanetArt, LLC, Successful
                            Bidder for Personal Creations, in Support of the Sale of Certain of the
                            Debtors' Assets Filed by PlanetArt, LLC [Docket No. 464 – filed July
                            29, 2019]

                    xiv.    Notice of Filing of Revised Proposed Sale Order for the Sale of
                            Personal Creations to PlanetArt LLC [Docket No. 468 - filed July 29,
                            2019]


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                    General Status: The Sale Hearing with respect to the sale of the Debtors’
                                    Personal Creations business to PlanetArt, LLC is going
                                    forward. Pursuant to the Notice of Adjournment, the Sale
                                    Hearing with respect to (i) the FTD Assets and the
                                    Restructured ProFlowers Business and (ii) Gourmet Foods
                                    is scheduled on August 9, 2019 at 10:00 a.m.




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Dated: July 29, 2019                   Respectfully submitted,
       Wilmington, Delaware
                                        /s/ Megan E. Kenney
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                                       Paul N. Heath (No. 3704)
                                       Brett M. Haywood (No. 6166)
                                       Megan E. Kenney (No. 6426)
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                                       ATTORNEYS FOR DEBTORS AND
                                       DEBTORS IN POSSESSION




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